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                      UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OFOHIO
                             EASTERN DIVISION



UNITED STATES OF AMERICA,            )        CASE NO. 1:15CV1036
                                     )
      Plaintiff(s),                  )        JUDGE CHRISTOPHER A. BOYKO
                                     )
               vs.                   )
                                     )
$16,765.00 IN U.S. CURRENCY, et al., )        REPORT OF PARTIES’ PLANNING
                                     )        MEETING UNDER FED. R. CIV. P.
      Defendant(s).                  )        P. 26(f) AND L.R. 16.3(b)

      1. Pursuant to Fed. R. Civ. P. 26(f) and L.R. 16.3(b), a meeting was held on
         September 21, 2018, and was attended by:
   Phillip J. Tripi, Esq., counsel for Plaintiff, United States of America
   Ian N. Friedman, Esq., counsel for Claimant Iris Karina Baker (by telephone)
   Mitchell J. Yelsky, Esq., counsel for Claimant Brandon K. Selvaggio
   Craig T. Weintraub, Esq., counsel for Claimants Dominic A. Schender, Roberta
      Eldridge, DAS Funding Group, Inc., DAS Motors, LLC, and Discounted
      Telecommunication Services, Inc. (by telephone)


             A separate planning meeting was held on September 17, 2018, due to
             scheduling conflicts, and was attended by:
   Phillip J. Tripi, Esq., counsel for Plaintiff, United States of America
   Dominic J. Vitantonio, Esq., counsel for Claimant Gabriel J. Saluan
   George J. Argie, Esq., counsel for Claimant Gabriel J. Saluan
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      2. The parties:
     ____ have exchanged the pre-discovery disclosures required by Rule 26(a)(1)
and the Court's prior order;
      ____ will exchange such disclosures by_____________________ , 20___ ;
      _X__ have not been required to make initial disclosures.



      3. The parties recommend the following track:

      __ Expedited __ Standard;         _X_ Complex        __ Administrative __ Mass Tort


      4. Pursuant to Local Rule 5.1(c) all documents must be electronically filed absent
           a showing of good cause.


      5. This case is suitable for one or more of the following Alternative Dispute
           Resolution (ADR) mechanisms:
      _____ Early Neutral Evaluation ____ Mediation ____ Arbitration.
      _____ Case is not suitable for ADR at this time but may be after
      discovery.
      __X__ Case is not suitable for ADR at any time.


      6. The United States does not consent to the jurisdiction of the United States
           Magistrate Judge pursuant to 28 U.S.C. § 636(c). The Claimants would
           consent to the jurisdiction of the United States Magistrate Judge pursuant to
           28 U.S.C. § 636(c).


      7.     Recommended Discovery Plan:
      (a) Describe the subjects, nature and extent of discovery
           Special Interrogatories, Interrogatories, Requests for Production of
           Documents, Requests for Admissions, and Depositions are contemplated.
           Discovery is extensive and difficult to engage in at this time, in light of the
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          ongoing criminal investigation; i.e. in excess of 20 computers were seized and
          analyzed.
    (b) Non-Expert discovery cut-off date:     To be determined (hereinafter “TBD”)
    (c) Plaintiff’s expert report due date: __TBD___________________________
    (d) Defendant’s expert report due date: __TBD__________________________
    (e) Expert discovery cut-off date: __TBD___________________________


    8.       Recommended cut-off date for amending the pleadings and/or adding
 additional parties: __TBD____________________


    9.       Recommended dispositive motion date: __TBD______________
             Recommended date for a Settlement Conference: __TBD__


    10.      Other matters for the attention of the Court: The United States expressed
    a willingness to consider entering into a discovery plan which would permit
    limited production of Government’s evidence, sharing with each claimant his or
    her own statements made to law enforcement, images of his or her computer
    hard drives, his or her bank records, and partial disclosure of evidence related to
    drug trafficking. However, such production of discovery requires further
    discussion as to how to treat such disclosures of documents and hard drives that
    are in a corporate name rather than in an individual claimant’s name.     Any plan
    would require the acquiescence of the Criminal Division as to the scope of
    discovery being disclosed prior to the claimants responding to discovery requests
    by the United States. Additional evidence related to phone cramming and money
    laundering cannot be fully shared at this time due to the pending criminal
    investigation. From the Claimants’ perspective, their attorneys have indicated
    that they cannot engage in reciprocal discovery during the pendency of the
    criminal investigation. Claimants intend to exercise their Fifth Amendment
    privilege in response to any discovery requests by the Plaintiff, United States of
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    America. The consensus of opinion is that the parties cannot engage in full civil
    discovery at this time.


                                      Respectfully submitted,

                                      JUSTIN E. HERDMAN
                                      United States Attorney

                               By:     /s/ Phillip J. Tripi
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                                      Counsel for Plaintiff United States of America

          __/s/ Ian N. Friedman (by phone consent)__________
          Ian N. Friedman, Esq.
          Counsel for Claimant Iris Karina Baker


          __/s/ Angelo F. Lonardo (by consent)_________
          Angelo F. Lonardo, Esq.
          Counsel for Claimant Brandon K. Selvaggio


          __/s/ Mitchell J. Yelsky (by consent)_________
          Mitchell J. Yelsky, Esq.
          Counsel for Claimant Brandon K. Selvaggio
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           __/s/ Craig T. Weintraub (by phone consent)________
           Craig T. Weintraub, Esq.
           Counsel for Claimants Dominic A. Schender,
                  Roberta Eldridge,
                  DAS Funding Group, Inc.,
                  DAS Motors, LLC, and
                  Discounted Telecommunication Services, Inc.


           __/s/ Dominic J. Vitantonio (by consent)______
           Dominic J. Vitantonio, Esq.
           Counsel for Claimant Gabriel J. Saluan


           __/s/ George J. Argie (by consent)____ ______
           George J. Argie, Esq.
           Counsel for Claimant Gabriel J. Saluan




                               CERTIFICATE OF SERVICE

        It is hereby certified that on this 21st day of September, 2018, a copy of the

 foregoing was filed electronically. Notice of this filing will be sent to all parties by

 operation of the Court=s electronic filing system. Parties may access this filing

 through the Court=s system.


                                                     /s/ Phillip J. Tripi
                                                    Phillip J. Tripi
                                                    Assistant U.S. Attorney
